SO ORDERED.

SIGNED this 25th day of April, 2016.




__________________________________________________________________________


               DESIGNATED FOR ONLINE PUBLICATION ONLY

              IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF KANSAS


IN RE:                                          )
                                                )
ABENGOA BIOENERGY BIOMASS OF                    )         Case No. 16-10446
KANASAS, LLC,                                   )         Chapter 11
                                                )
                              Debtor.           )
________________________________________________)

      ORDER DENYING DEBTOR’S MOTION FOR INTER-DISTRICT
     TRANSFER UNDER 28 U.S.C. § 1412 AND FED. R. BANKR. P. 1014


      Abengoa Bioenergy Biomass of Kansas, LLC moves to transfer this case to the

United States Bankruptcy Court for the District of Delaware where cases involving

its indirect parent companies and other affiliates are pending. This motion requires

me to consider whether that transfer would serve the convenience of the parties or

the interests of justice. After carefully considering both the evidence and argument




                                                                                  1

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received on April 13 and 19, 2016, I conclude that the facts and unique circumstances

surrounding this debtor and its known creditors do not warrant transferring the case.

       FACTS

       Petitioning Creditors and mechanics’ lien claimants Brahma Group, Inc., CRB

Builders, LLC, and Summit Fire Protection Co. commenced this case by filing an

involuntary chapter 7 petition against debtor Abengoa Bioenergy Biomass of Kansas,

LLC (ABBK) on March 23, 2016. Service on ABBK was made on March 25, 2016. On

April 6, ABBK filed a motion to convert the case to chapter 11. An order granting that

motion was entered on April 8. Contemporaneous with the motion to convert, ABBK

filed a motion for inter-district transfer of the case from the District of Kansas to the

District of Delaware, so it can be jointly administered with the chapter 11 cases filed

by ABBK’s affiliates, and requested an expedited hearing on its transfer motion. Also

on April 6, ABBK filed a voluntary chapter 11 petition in the District of Delaware.

Several mechanics’ lien claimants and creditors filed objections to the transfer. 1 An

evidentiary hearing was held on the motion on April 13. 2




1 See Dkt. 46 (Stoppel Dirt), 47 (Schaedler Enterprises, Inc.), 48 (ICM), 49 (Brahma), 51
(TUSA), 57 (Elliott Electrical Supply).
2 After the evidentiary record was closed on April 13, the Court heard closing arguments from

the parties on April 19. ABBK appeared by its counsel Christine Schlomann. Creditor
Brahma Group appeared by its counsel Rick Griffin and Samantha Woods. Creditor ICM
appeared by its counsel Thomas Lasater and Charles Milsap. Creditor Stoppel Dirt, Inc.
appeared by its counsel Bruce J. Woner. Creditor Schaedler Enterprises, Inc. appeared by its
attorney Richard Davis. Creditor Vista Energy, L.P. appeared by its counsel Jeffrey D.
Leonard. Creditor Pioneer Electric Cooperative, Inc. appeared by its attorney Edward J.
Nazar. The United States Trustee appeared by Richard A. Wieland. Victor Zhao, Assistant
United States Attorney appeared telephonically on behalf of the U.S. Department of Energy.
                                                                                           2

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      In November of 2015, Brahma Group filed a state court mechanic’s lien

foreclosure suit against ABBK in the District Court of Stevens County, Kansas. At

the time this involuntary case was commenced, there were approximately 25 lien

claimants joined in the state court foreclosure action. 3 That action was stayed by the

involuntary petition against ABBK.

      The Debtor ABBK

      ABBK is one of hundreds of affiliates and indirect subsidiaries under the

expansive umbrella of Abengoa, S.A., a Spanish multi-national engineering and clean

technology conglomerate that operates in the energy and environmental sectors,

including the industrial production of biofuels such as ethanol. 4 ABBK is a Kansas

limited liability company organized in 2006 and is part of Abengoa’s United States

bioenergy group of subsidiaries and affiliates. Its principal asset is a so-called “second

generation” biofuel/ethanol plant located on 400 acres in Hugoton, Kansas, the

southwest part of the state. 5 In addition to the plant, ABBK owns the real estate and

unspecified water rights. After 3 years of construction, the plant was substantially

completed in 2014. The plant started up and achieved commercial production levels

during 2015, but never reached its design capacity of 25 million gallons annually.

Technology and production problems shut production down in November of 2015 and

the plant remains in “idled maintenance” status. ABBK’s witness Christopher

Standlee testified that the plant was “not broken,” but needs modifications or “fixes”


3 See Ex. 3, Third Amended Foreclosure Petition
4 See Ex. G.
5 First generation ethanol plants produce biofuels from food crops like corn while second

generation plants use renewable non-food plant matter like corn stover or switchgrass.
                                                                                        3

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to run the plant profitably. He anticipated that fixing the problems could cost as much

as $10-$20 million and take between two and six months. ABBK does not have the

cash to fix the plant’s operating problems. While the plant was running, ABBK had

70 to 80 employees; currently only ten remain, including the plant manager Danny

Allison in Hugoton. Mr. Allison reports to Craig Kramer, the Vice-President of

Operations in St. Louis where ABBK’s officers are housed.

       ABBK’s Affiliate Relationships

       ABBK is wholly owned by Abengoa Bioenergy Hybrid of Kansas, LLC (ABHK),

also a Kansas limited liability company. ABHK, in turn, is owned by Abengoa

Bioenergy US Holding, LLC, (ABUSH) a Missouri limited liability company. 6 ABBK’s

mailing address for “official mail” is Chesterfield, Missouri (near St. Louis), the same

address as ABHK’s and ABUSH’s principal place of business. 7 The ABBK facility’s

plant manager is in Hugoton, but the ABHK and ABUSH offices and the corporate

officers direct, control and coordinate ABBK from St. Louis.

       ABHK filed a voluntary chapter 11 petition in Delaware on April 6. 8 ABUSH

filed a voluntary chapter 11 petition in the Eastern District of Missouri (St. Louis) on

February 24 and is the lead debtor in the jointly administered case, together with

other subsidiaries and affiliates in Abengoa’s bioenergy group. 9

       Both of the Abengoa subsidiaries that supplied engineering and construction

services at the Hugoton project or served as general contractor on the project are


6 Ex. 2.
7 Ex. 8.
8 Ex. 8.
9 Ex. F, p. 29; Ex. 2.


                                                                                      4

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located in Phoenix, Arizona. They are Abeinsa EPC LLC 10 and Abener Teyma

Hugoton General Partnership (Teyma). Both are parties to the Stevens County

foreclosure. Abeinsa EPC and Teyma each filed voluntary chapter 11 petitions in

Delaware on March 29, 2016. 11 Neither Abeinsa EPC nor Teyma are part of the

Abengoa bioenergy group. 12 Abengoa’s subsidiaries operate on a decentralized

basis. 13

       Another Abengoa affiliate, Abengoa Bioenergy New Technologies, LLC (ABNT)

developed and owns the second generation technology in use at the Hugoton plant.

ABNT licenses that technology to ABBK, though there was no evidence offered at the

hearing concerning the terms of use. ABNT also filed a voluntary chapter 11 petition

in Delaware on April 6. 14

       ABBK’s Books and Records

       While operational records are maintained at ABBK’s Hugoton facility, ABBK’s

books and records reside in St. Louis. The construction records for the Hugoton

facility are maintained by Teyma in Phoenix, Arizona.

       The Known Creditors of ABBK

       ABBK’s known creditors include the U.S. Department of Energy (DOE) which

provides unspecified financial assistance to renewable energy enterprises and the

mechanics’ lien claimants who provided labor and materials in the construction of the


10 “EPC” is the acronym for Engineering, Procurement, and Construction. See Ex. F, p. 5.
Abeinsa EPC is a Delaware limited liability company.
11 Ex. F, p. 28; Ex. 6.
12 Ex. F, p. 5.
13 Ex. F, p. 6.
14 Ex. 7.


                                                                                      5

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facility. 15 I assume there are numerous trade creditors as well as inter-affiliate

obligations. ABBK’s utility provider is Pioneer Electric Cooperative, Inc. and is

located in southwest Kansas. 16 Though ABBK suggested at trial that DOE would

assert a priority lien in its assets, DOE’s counsel informed that court that the

Government’s interests are more in the nature of restrictions on ABBK’s use of the

land that are based upon certain regulatory provisions. DOE has no recorded lien, at

least in Stevens County. The mechanics lien claimants are parties to the Stevens

County case and those who have entered appearances in this case. DOE is located in

Washington D.C. The mechanics lien claimants are located in Kansas and several

other states across the country, but all have provided materials and services in the

construction of the ABBK ethanol plant in Kansas. 17 The petitioning creditors’

principal places of business are in Salt Lake City, Utah (Brahma); St. Louis, Missouri

(CRB Builders); and St. Paul, Minnesota (Summit Fire). The following mechanic’s

lien claimants are located in Kansas or are entities organized under Kansas law:

ICM, Inc., Stoppel Dirt, Inc., TUSA, Inc., Decker Electric, Inc., Mead O’Brien, Inc.,

Sunrise Staffing Services, LLC, Bearing Headquarters Company, and C.F. Service &

Supply, LLC.

      Non-Kansas lien claimants include creditors Acid Piping Technology and

Cogent, Inc., both are located in Missouri. The following lien claimants are located in



15 ABBK has not filed its schedules in either Kansas or Delaware. I assume there are
numerous trade creditors as well as inter-affiliate obligations.
16 ABBK and Pioneer entered into an Agreed Order for adequate assurance of payment under

§ 366 on April 20, 2016. See Dkt. 62.
17 Ex. A and Ex. 3.


                                                                                      6

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Georgia: Transglobal Energy, Inc., Black Diamond Industrial LLC, Air Techniques,

Inc., and Dustex LLC. Creditor Maine Automation is located in Maine. Vista Energy

is located in Washington. Sulzer Pump Services US Inc. is located in Texas. W-S

Industrial Services, Inc. is located in Iowa. FHI Plant Services is located in Arizona.

Lien claimant Pumping Solutions, Inc. is located in Illinois. We do not know the

principal place of business of either Elliott Electrical Supply, Inc. or Schaedler

Enterprises, two other lien creditors who oppose transfer. Other than these two

creditors, none of the lien claimants appear to maintain a principal place of business

in Delaware.

      The Parties’ Counsel

      Nearly all of the lien claimants have retained counsel for the Stevens County

foreclosure from Kansas or the Kansas City metropolitan area. All of the Abengoa

subsidiaries in the foreclosure – ABBK, Abeinsa EPC LLC and Abener Teyma

Hugoton General Partnership, have retained the services of a Wichita, Kansas law

firm. Ms. Christine L. Schlomann, ABBK’s attorney on the motions filed in this case

offices in Kansas City, Missouri. 18 Creditor counsel who have entered their

appearances in this bankruptcy to date are nearly all from Kansas or the Kansas City

area. 19 DOE appeared telephonically at the transfer hearing by a justice department

attorney from Washington D.C.


18 After the motion for transfer was heard, Ms. Schlomann moved for co-counsel R. Craig
Martin’s admission pro hac vice which was granted on April 20. Mr. Martin practices with
DLA Piper LLP in Wilmington, Delaware.
19 Counsel Jay Welford of the law firm Jaffe Raitt Heuer & Weiss, P.C. from Southfield,

Michigan has entered an appearance for Varilease Finance, Inc., VFI KR SPE I, LLC and
VFI-SPV VIII Corp.
                                                                                      7

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       Witnesses

      ABBK’s sole witness at the transfer hearing was Christopher Standlee, the

Executive Vice-President for Global Affairs. He works for ABUSH, the upstream

parent of ABBK and Eastern District of Missouri debtor, and is a member of its Board

of Directors. He formerly worked out of the St. Louis office but now works from

Washington D.C. 20 He is on the Steering Committee for Abengoa’s global

restructuring, but is not the “decision maker” for ABBK and has little or no “line”

authority over its ABBK’s operations.

      Apart from the creditors, DOE, and on-site Hugoton plant manager who may

be witnesses in ABBK’s bankruptcy, the identity and location of other potential

witnesses is unknown. The nature and location of the debtor’s other professionals,

such as investment bankers or restructuring experts is not in the record. The DOE

witnesses would likely travel from the Washington D.C. area. It appears that the

officers with authority and management over ABBK’s operations are located at

corporate offices ABHK or ABUSH in St. Louis. No corporate officers appear to be

located in Delaware.

      The Eastern District of Missouri Cases

      In addition to ABBK’s bankruptcy here, and the recent bankruptcy filings in

Delaware as noted above, several Abengoa affiliates and subsidiaries that, like

ABBK, are part of the bioenergy group, filed chapter 11 cases in St. Louis in the




20Before working for Abengoa, Mr. Standlee practiced law in Wichita, Kansas, later serving
as general counsel to High Plains Corporation before it was acquired by Abengoa.
                                                                                        8

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Eastern District of Missouri on February 24, 2016. 21 The lead debtor in the jointly

administered Missouri bankruptcies is ABUSH – ABBK’s upstream parent. Other

subsidiaries owning or operating first or second generation ethanol plants in

Ravenna, Nebraska; York, Nebraska; Colwich, Kansas; and Portales, New Mexico,

including Abengoa Bioenergy of Nebraska, LLC and Abengoa Bioenergy Company,

LLC, a Kansas limited liability company, are chapter 11 debtors in the Missouri

proceedings. It appears that none of the Abengoa affiliates or subsidiaries that

directly own and operate ethanol plants have filed bankruptcy in Delaware.

       Abengoa, S.A.’s Global Restructuring

       This bankruptcy and the cascade of affiliate and subsidiary bankruptcy filings

follow the ultimate parent Abengoa, S.A.’s efforts in 2015 to turnaround the

conglomerate’s financial situation. 22 In November of 2015 Abengoa, S.A. sought

protection under the Spanish Insolvency Act to pursue negotiations with its principal

financial creditors to reach a global agreement for restructuring its financial affairs.

In March of 2016, Abengoa, S.A. presented its Restructuring Proposal in Spain – “the

framework for the restructuring of Abengoa’s financial obligations,” and is seeking to

obtain the requisite creditor approval in order for the Spanish Court to approve the

same. 23 As part of a Standstill Agreement entered into between Abengoa and certain

financial creditors, Abengoa, S.A. and its numerous Spanish affiliates filed chapter


21 Ex. F, p. 29.
22 See Ex. F, Runge Declaration (“Runge Dec.”), pp. 4-14 for history of Abengoa, S.A., its
corporate structure, and business activities leading up to the current global restructuring
and reorganization efforts.
23 See Ex. I, Business Plan & Financial Restructuring Proposal, March 16, 2016; Runge Dec.,

¶ 27.
                                                                                         9

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15 bankruptcy cases in the District of Delaware on March 28, 2016 to extend the

Standstill Agreement.

       The Abengoa entities and business activities are broken into four “distinct

business units” – bioenergy, EPC (engineering, procurement, and construction),

water, and solar. 24 They “operate on a decentralized basis,” and the majority of

operations are in the EPC and solar business units. 25 Through the Restructuring

Proposal and its agents, Abengoa has expressed its plans with respect to its U.S.

bioenergy affiliates and subsidiaries. With specific reference to the Missouri

proceedings noted above, it stated that “the Bioenergy Debtors seek to reorganize

through a sale of all or substantially all of their assets or a stand-alone

restructuring.” 26 As described in the Restructuring Proposal, the “new” Abengoa in

general would focus on turnkey projects focusing on its engineering and construction

business unit and no longer own “industrial plants.” 27      Other publicity in 2016

regarding Abengoa’s future reported that it was open to selling off the bioenergy unit

because “making biofuels” was not part of its core business. 28

       At about the same time the Restructuring Proposal came out and shortly before

this involuntary was commenced, the plant manager of the Hugoton facility offered

for sale an extensive list of “surplus equipment.” 29 Land and water rights have also




24 Runge Dec., ¶ 11.
25 Id. at ¶ 13.
26 Id. at ¶ 33.
27 Ex. I, p. 37.
28 Ex. K. See also, Ex. L.
29 Ex. J.


                                                                                   10

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been offered for sale. Mr. Standlee testified these were excess rights and land due to

over-purchase of water rights and land that was not needed to run the plant.

       ANALYSIS

       The court may, in its discretion, transfer a case either for the convenience of

the parties or in the interests of justice. 30 Fed. R. Bankr. P. 1014(b) provides that, if

multiple cases involving the same debtor are filed in different districts, the court in

which the first-filed petition is pending may decide, again based on the interests of

justice or the parties’ convenience, where the case should proceed. Because the first

petition was filed in the District of Kansas, it falls to me to determine where this

chapter 11 case should proceed. Usually, the burden is on the party seeking to

transfer venue to prove that it is warranted by a preponderance of the evidence. 31

       Courts usually apply the CORCO test, weighing a series of factors set out in

that case. 32 Those factors include (1) the proximity of creditors to the court; (2) the

proximity of the debtor; (3) the proximity of necessary witnesses; (4) the location of

the assets; (5) the economic administration of the estate; and (6) necessity for

ancillary administration. 33 Many cases suggest that the party seeking to transfer the

case to another venue has the burden to prove either the justice or the convenience of

the contemplated move and at least one judge has noted that the burden of




30 See 28 U.S.C. § 1412(a)(1) and (b).
31 See In re Enron Corp., 317 B.R. 629, 637-39 (Bankr. S.D.N.Y. 2004).
32 See In re Commonwealth Oil Ref. Co., Inc. (“CORCO”), 596 F.2d 1239, 1247 (5th Cir. 1979),

cert. denied, 444 U.S. 1045 (1980).
33 See In re Enron Corp., 274 B.R. 327, 332 (Bankr. S.D.N.Y. 2002).


                                                                                         11

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determining what is “just” ultimately falls to the judge. 34 Courts also give deference

to the debtor’s choice of venue. 35 The first case filed was the creditors’ involuntary

petition against a Kansas debtor in Kansas. The debtor converted that case to a

chapter 11 case here, simultaneously filing the companion case in the District of

Delaware. I view the “first-filed” and “debtor preference” rules as part of the “interests

of justice” determination. In weighing the CORCO factors, the court looks at the case

“on the ground” as the record portrays it at the time of the hearing. 36 I am also

mindful that transfer should not be granted if it merely shifts the inconvenience from

one party to the other. 37

       Rule 1014(b) “Convenience” Considerations

       The first factor is the proximity of creditors of every kind to the court. Mr.

Standlee testified that this debtor may have “thousands” of creditors in all fifty states.

But ABBK’s order for relief had only issued seven days before the hearing and there

are no schedules. Based on the evidence, the only creditors we know about are the

mechanics lienholders at the Hugoton project, debtor’s utility provider, and the

Department of Energy (DOE or Department). The lien creditors are from various




34 In re Caesars Entertainment Operating Company, Inc., 2015 WL 495259 at *5 (Bankr. D.
Del., Feb. 2, 2015).
35 Caesars Operating at *7 (noting the level of deference given to a debtor’s choice of forum is

less clear where an involuntary petition was filed against the debtor in a different venue prior
to the debtor’s voluntary petition).
36 In re West Coast Interventional Pain Medicine, Inc., 435 B.R. 569, 579-80 (Bankruptcy.

N.D. Ind. 2010) (The court must focus on concrete facts that exist at the time venue motion
is considered – not what may or may not play out in administration of the case); CORCO, 596
F.2d at 579-80.
37 In re Great American Resources, Inc., 85 B.R. 444, 446 (Bankr. N.D. Ohio 1988); Matter of

Lakeside Utilities, 18 B.R. 115, 118 (Bankr. D. Neb. 1982).
                                                                                             12

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places, but more than a few are from Kansas or have consented to its territorial

jurisdiction by doing business in Kansas and by appearing in a Kansas state court

proceeding concerning their claims.

         The DOE’s interest is unclear at present. At trial, the debtor said that the DOE

has a lien-like interest in ABBK’s real property by virtue of regulatory provisions that

govern alternative energy grants and that this lien would prime the lien claimants’

priority. Other than Mr. Standlee’s testimony, no evidence of that was produced. At

argument, DOE’s counsel stated that the Department doesn’t claim a lien; rather the

regulations found in 10 C.F.R. § 601.321 gives the Department certain veto rights

over the disposition of an alternative energy grantee’s real estate. 38 It remains to be

seen to what extent the DOE’s claim affects the secured status of this asset or how

those rights stack up to against perfected security interests in bankruptcy court. The

creditor proximity test weighs against transfer for now.

         The debtor has proximity to the court. ABBK is a Kansas limited liability

company that is owned by another Kansas LLC, ABHK. ABHK is remotely owned by

a Missouri entity, ABUSH. ABUSH’s offices and ABBK’s managing officers are

located in St. Louis, Missouri, and Washington, D.C. Travel between here and those

cities is hardly impossible. Given that this debtor’s assets are few in number (though

very valuable) and that its place in Abengoa’s corporate scheme is as one of many

distinct entities, its need to transport officers and witnesses may prove to be

infrequent and, in any event, will not be burdensome. By comparison, requiring these



38   10 C.F.R. § 601.321.
                                                                                      13

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creditors to go to East Coast to defend their Kansas law-based claims will

undoubtedly be burdensome to them. This factor weighs against transfer.

      As to the proximity of witnesses, the debtor argues that the necessity of

appearance by investment bankers and other professionals who office on the East

Coast demands venue in Delaware. But, some of the likely witnesses to the lien claims

issues are from Kansas or are situated in the Midwest and easily accessible to

Kansas. Many of them are subject to this court’s subpoena power. This factors weighs

slightly against transfer.

      This debtor’s assets, including 400 acres of land, water rights, and the plant’s

improvements, are located in Stevens County, Kansas. That is 250 miles from this

courthouse and lies within this court’s territorial jurisdiction. Oversight management

occurs at the “home office” in St. Louis. Mr. Standlee testified he was unaware of

other assets located outside Kansas. This factor weighs against transfer.

      The record is less clear concerning the books and records of the debtor. The

plant manager did not testify. Mr. Standlee stated that some of the books and records

are maintained in St. Louis. The construction records for the debtor may be in

Phoenix, and those business records not at the plant are in St. Louis. There is no

suggestion those records reside in the District of Delaware. Given the ability to search

and transmit records electronically, their physical whereabouts may not be as

important as it once was. This factor weighs neutral.

      As to the economical administration of this estate, the location of this debtor’s

management in Missouri, while not ideal to the case proceeding in Wichita, should



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not impede efficiently prosecuting the case here. Mr. Standlee came from Washington

to testify on extremely short notice. He is the Executive Vice President for Global

Affairs of ABUSH which is a debtor in the Eastern District of Missouri. He said has

no line authority over this debtor. Rather, he is a member of a steering committee

overseeing all of the bankruptcy cases involving Abengoa entities. The operational

assets are here and St. Louis is not far away. Nothing in the record suggests there

are directly responsible administrators in Delaware. The court notes that it hears

many business cases in which ownership and management are from outside Kansas.

This factor weighs neutral.

      In summary, convenience weighs against transferring this case. This is a

debtor with a principal, albeit large and expensive, asset—the Kansas plant.

Purposefully organized as such, it is one of many separate entities that make up a

larger enterprise. Nothing prevents this debtor from benefitting from a debtor in

possession credit facility that is approved in the Delaware cases. This court can

certainly determine whether the amounts requested are appropriate and whether the

extent to which this debtor’s assets will be encumbered is proper. I can reach those

and any other issues concerning the terms of a proposed credit facility as it affects

this debtor very promptly. Right now, there is no evidence about whether such a

facility is forthcoming or who the lenders might be.

      Unlike the movants in CORCO, Enron, or Caesars Operating, these objecting

creditors do not seek to transfer a mega-case filing to their venue. Rather, they simply

ask that a case they initiated as an involuntary proceeding and that involves a legally



                                                                                     15

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and financially distinct entity remain here. At this point, ABBK has simply failed to

show why this case (and this debtor) cannot operate separately, but in tandem with,

the Delaware and Missouri cases.

       The Interest of Justice

       The interest of justice test involves balancing more intangible considerations.

A court should exercise its power to transfer a bankruptcy case cautiously. 39 In doing

so, it should consider what will promote the efficient administration of this estate,

judicial economy, timeliness, and fairness. 40

       In cases with one or a few assets, courts have favored sending them to or

leaving them in venues where the assets are located. In In re Rehoboth Hospitality,

LP, the court faced a Delaware voluntary petition concerning a debtor who, while

organized in Delaware, owned a hotel in Texas—its only asset. 41 In that case, the

court noted that deference is often afforded the debtor’s choice of forum, but that the

debtor’s choice is not dispositive when the choice is not directly related to the

underlying facts and issues in the case. 42 There, because the asset and most of its

creditors were situated in Texas, the court granted their motion to transfer after

concluding the movants had carried their burden of proof.

       Compare that result to Caesars Operating, where the court recognized that the

level of deference is less clear where an involuntary petition was filed before the


39 CORCO, 596 F.2d 1239, 1241; Enron, 274 B.R. at 342; In re Condor Exploration, LLC, 294
B.R. 370, 377 (Bankr. D. Colo. 2003); In re Toxic Control Tech, Inc., 84 B.R. 140, 143 (Bankr.
N.D. Ind. 1988).
40 Enron, 274 B.R. 327, 343 (Bankr. S.D.N.Y.2002).
41 In re Rehoboth Hospitality, LP, 2011 WL 5024267 (Bankr. D. Del. Oct. 19, 2011).
42 2011 WL 5024267 at *3.


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debtor filed its voluntary case. 43 In that case, the Delaware court had the first-filed

involuntary while the voluntary case was filed in the Northern District of Illinois.

The creditors seeking the transfer in Caesars wanted the entire mega-case to be

transferred from that district to the District of Delaware. The petitioning creditors in

that matter filed their petition knowing that the debtor would be filing a voluntary

case. In those circumstances, the court concluded that it would honor the debtor’s

venue preference.

         Our situation is different in several ways. First, the petitioning creditors here

sought involuntary relief more than ten days before the voluntary case was filed.

ABBK presented no evidence that the petitioning creditors knew ABBK was going to

file a voluntary chapter 11 in Delaware and that the Kansas involuntary was a

preemptory strike. Second, the ABBK case, while part of a complex set of entities,

does not itself seem to be nearly as complex. It is a company with few but valuable

assets that are encumbered by liens, not unlike the hotel in Rehoboth. Third, the

creditors seeking the transfer in Caesars wanted the entire complex of related cases

to be transferred from the Northern District of Illinois to the District of Delaware.

ABBK’s creditors merely want this entity’s case to be conducted in this District. They

do not seek to wrest the Delaware cases away, nor would this court entertain such a

notion.

         In considering the fairness of a transfer, I should note the respective parties’

concerns about ABBK’s true intentions in this case. The objecting creditors believe



43   In re Caesars Operating Company, Inc., 2015 WL 495259 at *7 (Bankr. D. Del. 2015).
                                                                                          17

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that this debtor will ultimately sell the plant because of what they perceive Abengoa’s

larger business strategy to be. Certainly, Abengoa’s senior management has made

clear its intention to exit the manufacturing business and rely more on engineering,

procurement, and construction (“EPC”) both in its overall business plan and in

pleadings in this court. But this court is also open to the possibility that ABBK’s

position as the owner and user of a developing technology furthers the greater

venture’s EPC goals.

           It may also be more efficient and less expensive to consider whether and to

what extent to allow the claims in this case here. Like the Delaware cases, this case

is in its infancy; neither court is likely to have “gained familiarity with many of the

issues that have and will continue to arise.” 44 The validity of the mechanics lien

claims turns on Kansas law and many of the lien claimants are present in Kansas or

have consented to its jurisdiction. This court has the time and expertise to reach those

and any other necessary issues with dispatch. Even though my distinguished

Delaware colleagues give every issue they get the closest and fairest consideration, I

am reluctant to risk ABBK’s creditors being lost in the sea of complex matters that

may be pending in the larger Abengoa cases.

           I conclude that ABBK has not demonstrated by a preponderance of the

evidence that the case should be transferred on either convenience grounds or the

interests of justice. The debtor’s motion to transfer is accordingly DENIED.

                                            ###



44   Id.
                                                                                     18

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